USCA Case #22-5114         Document #1988938         Filed: 03/07/2023   Page 1 of 20



           ORAL ARGUMENT SCHEDULED FOR MARCH 17, 2023


                United States Court of Appeals
              for the District of Columbia Circuit
    NAVY SEAL 1, et al.,

                APPELLEES,
                                                    CASE NO. 22-5114
    NAVY SEAL 4,

                APPELLANT,
         V.

    LLOYD J. AUSTIN, IN HIS OFFICIAL CAPACITY
    AS SECRETARY OF DEFENSE, et al.,

                APPELLEES.



            APPELLANT NAVY SEAL 4’S RESPONSE TO
                APPELLEES’ CLAIM OF MOOTNESS
__________________________________________________________________

        On February 28, 2023, the Government filed a letter in this appeal and in the

associated appeal docketed as No. 22-5135, asserting that these appeals are moot.

(DOJ Ltr.). On March 2, 2023, this Court directed “the appellants to file responses

to the letter that explain why their appeals are not moot by Tuesday, March 7, 2023.”

(Order of Mar. 2, 2023). This is Appellant Navy SEAL 4’s response. 1



1
  The Clerk informed Appellant’s counsel that the merits panel granted Appellant
5,000 words for his response.

                                         -1-
USCA Case #22-5114       Document #1988938           Filed: 03/07/2023    Page 2 of 20



      In its letter, the Government asserts that “recent developments . . . further

confirm that these appeals are moot.” (DOJ Ltr. at 1-2). Per the Government, these

“developments” are threefold. First, the Government cites two recent Ninth Circuit

opinions concluding that the recission of the mandate mooted the preliminary-

injunction appeals. (Id. at 1). Of course, neither decision is binding on this Court.

And for the reasons stated below and in prior filings, it would be error for this Court

to follow its sister circuit. Indeed, these decisions fail to provide any meaningful

analysis of the issue.

      Second, the Government informs this Court that Department of Defense

guidance issued on February 24, 2023, purportedly “rendered in-operative ‘any

COVID-19 vaccination requirements or related theater entry requirements’ in the

military ‘and any limitations on deployability of Service members who are not

vaccinated against COVID-19,’” further “emphaz[ing],” with a foreign nations’

entry requirement exception, that “military commanders can neither ‘require a

Service member or group Service member to be vaccinated against COVID-19, nor

consider a Service member’s COVID-19 immunization status in making

deployment, assignment, and other operational decisions, absent establishment of a

new immunization requirement’ under a prescribed process ensuring that any new

requirements must be ‘justified by compelling operational needs . . . as narrowly

tailored as possible.’” (Id. at 1-2) (emphasis added). Glaringly absent from this



                                         -2-
USCA Case #22-5114       Document #1988938            Filed: 03/07/2023    Page 3 of 20



litany of “decisions” is promotions.      Also, it was not that long ago that the

Government told the U.S. Supreme Court that mandating the COVID-19 vaccine

was crucial for “deployment, assignment, and other operational decisions.” See

Austin v. U.S. Navy SEALs 1-26, 142 S. Ct. 1301, 1302 (2022). Apparently, all it

takes is a President who desperately wants to pass a huge spending bill to make such

“compelling” interests evaporate overnight. (See Appellant’s Supplemental Br. on

Mootness at 11-12, n.8). Additionally, as this case demonstrates, the Government

has zero credibility when comes to justifying a COVID-19 vaccination mandate with

a compelling interest or narrowly tailoring it to advance its alleged interests.

      And third, “on the same day, the Secretaries of the Navy and the Airforce

issued guidance” mandating the removal of “any adverse information related to . . .

COVID-19 vaccine refusal . . . from the service record.” (Id. at 2). As the

accompanying declaration of Navy SEAL 4 demonstrates, this gesture—which is

undoubtedly a litigation ploy in a transparent attempt to render this case moot and to

avoid a judicial determination that the mandate is unlawful—is far too little and too

late. (See Navy SEAL 4 Decl. ¶¶ 5-10 attached as Ex. 1). 2



2
  For operational and personal safety reasons, Navy SEAL 4 was permitted to
proceed pseudonymously in the court below. (Order Granting Mot., Mar. 11, 2022).
Consequently, his identifying information (i.e., name and signature) was redacted
from his declaration. Appellant’s counsel can vouch for the authenticity of the
document. Additionally, an unredacted copy of this declaration was served on
Government’s counsel via email, per the parties’ usual practice in the district court.

                                         -3-
USCA Case #22-5114       Document #1988938            Filed: 03/07/2023    Page 4 of 20



      These “recent developments” cited by the Government are the offspring of the

recission of the vaccine mandate by the President for purely political reasons as the

President opposed “rolling back” the mandate but nonetheless wanted the huge

spending bill to pass as he cared more about political fallout than he cared about

keeping the mandate in place (thus eviscerating any compelling interest for the

mandate). 3 (See Appellant’s Supplemental Br. on Mootness at 11-12, n.8).

      Since the President signed the FY 23 NDAA, the Government has engaged in

a slow drip, walking back of the mandate in a vain effort to erase not only its

existence but its ongoing and harmful effects in what is clearly an effort to moot this

litigation. But the Government has failed. Indeed, the Government adamantly

refuses to acknowledge that the mandate—which seriously harmed numerous

servicemembers, including Navy SEAL 4, for over a year and which continues to

cause irreparable harm—was unlawful. The Government wants to have its cake and

eat it too. In fact, the Government has emphasized that it will readily institute a very

similar mandate whenever it pleases, 4 as if to tell the Court, “We know the easiest


3
  On December 23, 2022, the President signed the James M. Inhofe National Defense
Authorization Act for Fiscal Year 2023 (FY23 NDAA). Section 525 of the FY23
NDAA required the Secretary of Defense to rescind the mandate that members of
the Armed Forces be vaccinated against COVID-19 as issued in the Secretary’s
August 24, 2021 memorandum, “Mandatory Coronavirus Disease 2019 Vaccination
of Department of Defense Service members.” Pub. L. No. 117-263, § 525 (Dec. 23,
2022), 136 Stat. 2395.
4
  As Appellant highlighted in his supplemental brief on mootness previously filed in
this Court, in the Secretary of Defense’s “recission” memo issued following the

                                         -4-
USCA Case #22-5114      Document #1988938            Filed: 03/07/2023   Page 5 of 20



way to get you to drop this political hot potato, avoid ruling on the legality of the

mandate, and allow our vaccine mandate to live for another day is to claim that we

are unwinding all the harm we did so you can simply opine that the case is moot.”

The Court should reject the invitation. Our brave servicemembers deserve better.

Much better.

      For more than a year, the Government kept in place a patently unlawful

vaccine mandate, destroying the careers and reputations of brave and hardworking

servicemembers,    specifically   including   Navy     SEAL     4,   because   these

servicemembers dared to raise a religious objection to the mandate. Now, the

Government has the gall to claim, “no harm, no foul.” But there was a foul, and

there certainly is harm—harm that is ongoing.




passage of § 525 of the FY23 NDAA, the Secretary states that he was “deeply proud
of the Department’s work to combat the coronavirus disease of 2019,” that “[t]he
Department has helped ensure the vaccination of many Americans,” that “[t]he
Department will continue to promote and encourage COVID-19 vaccination for all
Service members,” that “[v]accination enhances operational readiness and protects
the Force,” and that “[a]ll commands have the responsibility and authority to
preserve the Department’s compelling interests in mission accomplishment.”
(Appellant’s Supplemental Br. on Mootness at 9-10 [citing the Sec’y Def. Mem. at
1-2] [emphasis added]). As noted, the memorandum expressly does not rescind
“standing Departmental policies, procedures, and processes regarding
immunization.” Id. Moreover, nothing that the Government has submitted to this
Court prevents the reissuing of the vaccine mandate. In fact, these “recent
developments” plainly show that the Department of Defense retains the unilateral
authority to establish “a new immunization requirement.” (DOJ Ltr. at 1-2).

                                        -5-
USCA Case #22-5114       Document #1988938           Filed: 03/07/2023    Page 6 of 20



      Far from making this case moot, the Government’s actions—specifically

including its “recent developments”—demonstrate that it cannot satisfy strict

scrutiny. It is not a close call. Accordingly, the Court should proceed to the merits

of this case, hold that the vaccine mandate violates the U.S. Constitution and the

Religious Freedom Restoration Act, and enter the requested injunction.

      “The burden of demonstrating mootness is a heavy one.” Cty. of L.A. v. Davis,

440 U.S. 625, 631 (1979) (internal quotation marks omitted). “A case becomes moot

only when it is impossible for a court to grant any effectual relief whatever to the

prevailing party. . . . As long as the parties have a concrete interest, however small,

in the outcome of the litigation, the case is not moot.” Knox v. SEIU, Local 1000,

567 U.S. 298, 307-08 (2012) (internal punctuation and citations omitted) (emphasis

added). As explained by the Supreme Court,

      [J]urisdiction, properly acquired, may abate if the case becomes moot
      because (1) it can be said with assurance that there is no reasonable
      expectation that the alleged violation will recur, and (2) interim relief
      or events have completely and irrevocably eradicated the effects of the
      alleged violation. When both conditions are satisfied it may be said
      that the case is moot because neither party has a legally cognizable
      interest in the final determination of the underlying questions of fact
      and law.

Cty. of L.A. v. Davis, 440 U.S. at 631 (internal punctuation and citations omitted)

(emphasis added). Here, it cannot be said “with assurance that there is no reasonable

expectation” that a similar vaccine mandate will issue. In fact, just the opposite is

true. Throughout, the Government defends the mandate and tells us clearly that it

                                         -6-
USCA Case #22-5114       Document #1988938            Filed: 03/07/2023    Page 7 of 20



retains the absolute authority to establish “a new immunization requirement.”

Additionally, the recission of the mandate has not “completely and irrevocably

eradicated [it] effects” on servicemembers, specifically including Navy SEAL 4,

who have suffered and continue to suffer because they objected to the mandate on

religious grounds.

      More specifically, Appellant continues to suffer financial harm and harm to

his career and reputation because he objected to the mandate on religious grounds.

(Navy SEAL 4 Decl. ¶¶ 5-10). Appellant was deprived of special duty pay he would

have received but for his religious objection to the vaccine mandate. (Navy SEAL

4 Decl. ¶ 9 [losing approximately $9,000 in special duty pay]). Supreme Court

precedent makes clear that the denial of benefits (Thomas v. Review Board, 450 U.S.

707, 717-18 (1981) (denial of unemployment benefits)), and adverse economic

incentives (Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 722 (2014)), are

cognizable harms that are sufficient to find a substantial burden on religious

exercise. And this burden on religious exercise constitutes irreparable harm as a

matter of law. See Elrod v. Burns, 427 U.S. 347, 373 (1976) (“The loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.”); Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013) (holding

that “a prospective violation of a constitutional right constitutes irreparable injury”)

(internal citation and quotations omitted); Jolly v. Coughlin, 76 F.3d 468, 482 (2d



                                         -7-
USCA Case #22-5114        Document #1988938             Filed: 03/07/2023     Page 8 of 20



Cir. 1996) (concluding that “although the plaintiff’s free exercise claim is statutory

rather than constitutional, the denial of the plaintiff’s right to the free exercise of his

religious beliefs” is “irreparable harm”).

      None of the prior nor more “recent developments” remedy this financial harm

nor do they remedy the stigma and reputational harm Appellant is suffering as a

result of his refusal to comply with the mandate. This harm will continue to

adversely affect Appellant and his career. (Navy SEAL 4 Decl. ¶¶ 5-10). Refusing

to adjudicate Appellant’s claims is affirmation that the Government did nothing

wrong and that Appellant violated a lawful order, thus allowing this reputational

harm and stigma to continue.

      Reputational harm constitutes a tangible and concrete injury that can be

redressed by equitable relief. 5 See, e.g., Foretich v. United States, 351 F.3d 1198,

1214 (D.C. Cir. 2003) (acknowledging that “reputational injury” may derive

“directly from government action” and that this injury may be redressed by equitable



5
 As stated in the First Amended Complaint:
      A judicial determination that the enforcement of the Vaccine Mandate
      against Plaintiffs violates the U.S. Constitution and RFRA would
      redress the stigma and reputational injury of which Plaintiffs complain
      in ways in which no administrative procedure could remedy, and it will
      provide protection from future harm by declaring such mandates
      unlawful. Neither administrative procedures nor administrative
      remedies can fully redress the harm caused by the Vaccine Mandate
      and its enforcement against Plaintiffs.
(R-43, First Am. Compl. ¶ 81).

                                           -8-
USCA Case #22-5114           Document #1988938        Filed: 03/07/2023    Page 9 of 20



relief); Singh v. Berger, 56 F.4th 88, 110 (D.C. Cir. 2022) (granting a preliminary

injunction and noting that “[e]ach day that the Marine Corps refuses to let them take

the oath of enlistment unless they surrender their faith inflicts an irreversible and

irreparable harm” as “[t]hey are forced daily to choose between their religion” and

“the performance of [the] supreme and noble duty of contributing to the defense of

the rights and honor of the nation,” and are thus “subjected to the ‘indignity’ of being

unable to serve”) (internal citation omitted); Elzie v. Aspin, 841 F. Supp. 439, 443

(D.D.C. 1993) (holding that the plaintiff would suffer irreparable injury in the

absence of preliminary injunctive relief because he “faces the stigma of being

removed from active duty as a sergeant in the Marine Corps—a position which he

has performed in a sterling fashion for eleven years—and labeled as unfit for service

solely on the basis of his sexual orientation”); see also NCAA v. Governor of N.J.,

730 F.3d 208, 220 (3d Cir. 2013) (“As a matter of law, reputational harm is a

cognizable injury in fact.”); Gully v. NCUA Bd., 341 F.3d 155, 161-62 (2d Cir. 2003)

(stating that “[t]he Supreme Court has long recognized that an injury to reputation”

is an injury in fact); Bowers v. Nat’l Collegiate Athletic Ass’n, 475 F.3d 524, 542-

43 (3d Cir. 2007) (finding standing to challenge a sanction that “affect[s] [the

plaintiff’s] reputation”).

      As a direct result of his religious objections to the vaccine mandate, Appellant

is suffering reputational harm and stigma, causing further harm to him and his career



                                         -9-
USCA Case #22-5114       Document #1988938            Filed: 03/07/2023     Page 10 of 20



as a Navy SEAL. (Navy SEAL 4 Decl. ¶¶ 5-10). As noted, this harm is irreparable,

and it can be remedied by preliminary injunctive relief. See Foretich, 351 F.3d at

1214; Kroupa v. Nielsen, 731 F.3d 813, 820 (8th Cir. 2013) (citing United

Healthcare Ins. Co. v. AdvancePCS, 316 F.3d 737, 741 (8th Cir. 2002)) (“Because

damage to one’s reputation is a harm that cannot be remedied by a later award of

money damages, the threat of reputational harm may form the basis for preliminary

injunctive relief.”); see generally Pappan Enters. v. Hardee’s Food Sys., 143 F.3d

800, 805 (3d Cir. 1998) (“The second factor a court must consider before granting

preliminary injunctive relief is the extent to which plaintiff will suffer irreparable

injury if preliminary injunctive relief is denied. Grounds for irreparable injury

include loss of control of reputation, loss of trade, and loss of goodwill.”); Life Spine,

Inc. v. Aegis Spine, Inc., 8 F.4th 531, 546 (7th Cir. 2021) (citing Stuller, Inc. v. Steak

N Shake Enters., Inc., 695 F.3d 676, 680 (7th Cir. 2012)) (“And it is well established

that the loss of goodwill and reputation, if proven, can constitute irreparable harm.”).

      Here, the Court could find that Appellant has established a substantial

likelihood of succeeding on the merits of his challenge to the mandate and enjoin

“any adverse or retaliatory action” caused by Appellant’s religious objection to this

mandate. 6 This relief could include ordering the Government to insert a copy of the


6
  Appellant seeks “a preliminary injunction enjoining the Government from (1)
enforcing against Navy SEAL 4 any order or regulation requiring COVID-19
vaccination and (2) from instituting or enforcing any adverse or retaliatory action

                                          - 10 -
USCA Case #22-5114      Document #1988938           Filed: 03/07/2023    Page 11 of 20



Court’s decision in Appellant’s official service record, demonstrating that a federal

court has concluded that Appellant’s religious objection was lawful and that no

adverse or retaliatory actions (inferences or implications) may come from it. Should

such adverse or retaliatory actions occur, Appellant could seek immediate redress in

this Court for a violation of the Court’s order via contempt proceedings or otherwise.

This Court order could take the place of Appellant’s adverse fitness report (or

augment any replacement) and thus explain the strange gap in his reporting period.

Per the sworn declaration of Appellant:

      [E]ven if the adverse fitness report I received due to my religious
      objection to the mandate is excluded from my official service record, I
      will have a gap in my reports that itself will be adverse. The only
      explanation for this reporting period gap (in which I was not deploying,
      training, or operational—factors/milestones necessary for advancement
      and promotion—due to my non-vaccinated status) is my refusal to get
      vaccinated, which violated a “lawful” order. Absent a court order
      justifying my refusal, there is no record that the mandate was unlawful
      and that it violated my sincerely held religious beliefs. In other words,
      absent a favorable court decision, the explanation for the missing fitness
      report/operational gap in my reporting period is my refusal to follow
      the “lawful” order mandating vaccination. Consequently, my career
      and my reputation as a Navy SEAL will forever be harmed absent court
      action.

(Navy SEAL 4 Decl. ¶ 10).



against Navy SEAL 4 as a result of, arising from, or in conjunction with Navy SEAL
4’s religious objection to the COVID-19 vaccination mandate, his request for a
religious exemption from the vaccine mandate, or pursuing this action or any other
action for relief under RFRA or the First and Fifth Amendments.” (R-14, Pl.’s Mot.
for Prelim. Inj. at 2) (emphasis added).

                                        - 11 -
USCA Case #22-5114       Document #1988938           Filed: 03/07/2023    Page 12 of 20



      In sum, none of the prior nor more “recent developments” have “completely

and irrevocably eradicated the effects of the alleged violation.” Cty. of L.A. v. Davis,

440 U.S. at 631. The appeal is not moot.

      Additionally, this appeal is not moot under the voluntary cessation exception

to mootness. As noted by the Supreme Court in Knox:

      [t]he voluntary cessation of challenged conduct does not ordinarily
      render a case moot because a dismissal for mootness would permit a
      resumption of the challenged conduct as soon as the case is dismissed.
      See City of Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283, 289
      (1982). And here, since the union continues to defend the legality of
      the Political Fight-Back fee, it is not clear why the union would
      necessarily refrain from collecting similar fees in the future.

Knox, 567 U.S. at 307 (emphasis added). Here, the Government continues to defend

the legality of the vaccine mandate. In fact, the Government has expressly stated

that it would not refrain from issuing a similar mandate in the future. (See supra).

Accordingly, the voluntary cessation exception to mootness applies here because not

only is the Government “free to return to [its] old ways,” but also the public has an

interest “in having the legality of the practices settled.” United States v. W. T. Grant

Co., 345 U.S. 629, 632 (1953). Thus, “[a]long with its power to hear the case, the

court’s power to grant injunctive relief survives discontinuance of the illegal

conduct.” Id. at 633. The appeal is not moot.




                                         - 12 -
USCA Case #22-5114     Document #1988938           Filed: 03/07/2023   Page 13 of 20



                                  CONCLUSION

      The appeal is not moot. The Court should proceed to the merits and issue the

requested injunction forthwith.

                         Respectfully submitted,

                         AMERICAN FREEDOM LAW CENTER

                         /s/ Robert J. Muise
                         Robert J. Muise, Esq. (MI P62849)
                         PO Box 131098
                         Ann Arbor, Michigan 48113
                         Tel: (734) 635-3756; Fax: (801) 760-3901
                         rmuise@americanfreedomlawcenter.org

                         Attorneys for Appellant




                                      - 13 -
USCA Case #22-5114      Document #1988938         Filed: 03/07/2023   Page 14 of 20



                      CERTIFICATE OF COMPLIANCE

       I certify that pursuant to the direction received from the merits panel

 authorizing a response not to exceed 5,000 words, the foregoing is proportionally

 spaced, has a typeface of 14 points Times New Roman, and contains 3,067 words.

                                AMERICAN FREEDOM LAW CENTER

                                /s/ Robert J. Muise
                                Robert J. Muise, Esq.




                                       - 14 -
USCA Case #22-5114       Document #1988938           Filed: 03/07/2023    Page 15 of 20



                          CERTIFICATE OF SERVICE

      I hereby certify that on March 7, 2023, I electronically filed the foregoing with

the Clerk of the Court for the United States Court of Appeals for the District of

Columbia Circuit by using the appellate CM/ECF system. Participants in the case

who are registered CM/ECF users will be served by the appellate CM/ECF system.

I further certify that all of the participants in this case are registered CM/ECF users.

                                 AMERICAN FREEDOM LAW CENTER

                                 /s/ Robert J. Muise
                                 Robert J. Muise, Esq.




                                         - 15 -
USCA Case #22-5114   Document #1988938   Filed: 03/07/2023   Page 16 of 20




                 EXHIBIT 1
USCA Case #22-5114        Document #1988938         Filed: 03/07/2023   Page 17 of 20



            ORAL ARGUMENT SCHEDULED FOR MARCH 17, 2023


                United States Court of Appeals
              for the District of Columbia Circuit
  NAVY SEAL 1, et al.,

                 APPELLEES,
                                                     CASE NO. 22-5114
  NAVY SEAL 4,

                  APPELLANT,
         V.

  LLOYD J. AUSTIN, IN HIS OFFICIAL CAPACITY
  AS SECRETARY OF DEFENSE, et al.,

                 APPELLEES.



                  DECLARATION OF NAVY SEAL 4
 __________________________________________________________________

       I hereby make this declaration pursuant to 28 U.S.C. § 1746 and based on my

personal knowledge, information, and belief.

       1.       I am an adult citizen of the United States and Appellant Navy SEAL 4

in this case.

       2.       I am on active duty in the U.S. Navy and a member of the U.S. Navy

Sea, Air, and Land Teams, commonly known as Navy SEALs. SEALs are the U.S.

Navy’s primary special operations force, and they are a component of the Naval

Special Warfare Command.
                                         -1-
USCA Case #22-5114      Document #1988938           Filed: 03/07/2023     Page 18 of 20



      3.     I have honorably served on active duty in the U.S. Navy for over 17

years, serving approximately 13 of those years as a Navy SEAL.

      4.     I am currently assigned to the Naval Special Warfare Development

Group, which is located in Virginia.

      5.     Because I objected to the military vaccine mandate on religious

grounds, I was removed from my operational SEAL team and placed in a temporary

training detachment. In other words, I was punished and essentially placed in a “time

out.” Being removed from my team was degrading and demoralizing, particularly

since I was removed as a result of my sincerely held religious beliefs.

      6.     This reputational harm was exacerbated by the fact that I received an

adverse fitness report, and I was formally accused by my Command of the

“Commission of a Serious Offense” for exercising my religious beliefs. I was

formally notified, and it is part of my official service record, that I would be

separated “by reason of Misconduct –Commission of a Serious Offense . . . [a]s

evidenced by [my] refusal of the COVID-19 vaccination.”

      7.     The Naval Special Warfare Command is a small command. It is also a

small community. Most, if not all, of my Command, including my peers, are aware

of these “black marks” on my career and service record. Promotions are very

competitive. My religious objection to the vaccine mandate has put me at a grave

disadvantage for career advancement and promotion.


                                        -2-
USCA Case #22-5114      Document #1988938           Filed: 03/07/2023    Page 19 of 20



      8.     As a direct result of my religious objection to the mandate, I lost over a

year’s worth of deployments, operations, and training. This loss of operational

experience will continue to harm my career, specifically including my opportunities

for advancement and promotions. As a result of this lengthy “time out,” I have been

unable to meet certain milestones necessary for career advancement and promotion.

      9.     In addition, during the time that I was removed from my operational

unit due to my religious objection to the mandate, I was ineligible for special duty

pay, including Advanced Incentive Pay. As a result, I lost approximately $9,000 in

special duty pay because I was exercising my sincerely held religious beliefs.

      10.    Moreover, even if the adverse fitness report I received due to my

religious objection to the mandate is excluded from my official service record, I will

have a gap in my reports that itself will be adverse. The only explanation for this

reporting period gap (in which I was not deploying, training, or operational—

factors/milestones necessary for advancement and promotion—due to my non-

vaccinated status) is my refusal to get vaccinated, which violated a “lawful” order.

Absent a court order justifying my refusal, there is no record that the mandate was

unlawful and that it violated my sincerely held religious beliefs. In other words,

absent a favorable court decision, the explanation for the missing fitness

report/operational gap in my reporting period is my refusal to follow the “lawful”

order mandating vaccination. Consequently, my career and my reputation as a Navy


                                         -3-
USCA Case #22-5114   Document #1988938   Filed: 03/07/2023   Page 20 of 20
